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      EXHIBIT D
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                                     UNITED STATES DISTRICT COURT
                                    EASTERN DISTRICT OF LOUISIANA

In Re: TAXOTERE (DOCETAXEL)                                                                     MDL NO. 2740
       PRODUCTS LIABILITY
       LITIGATION

                                                                                                SECTION “N” (5)

THIS DOCUMENT RELATES TO
ALL CASES

                               FIFTH AMENDED PLAINTIFF FACT SHEET


      This Fact Sheet must be completed by each plaintiff who has filed a lawsuit related to the use of
Taxotere® by the plaintiff or a plaintiff’s decedent. Please answer every question to the best of your
knowledge. In completing this Fact Sheet, you are under oath and must provide information that is true and
correct to the best of your knowledge. If you cannot recall all of the details requested, please provide as much
information as you can. You must supplement your responses if you learn that they are incomplete or incorrect
in any material respect.

       In filling out this form, please use the following definitions: (1) “healthcare provider” means any
hospital, clinic, medical center, physician’s office, infirmary, medical or diagnostic laboratory, or other facility
that provides medical, dietary, psychiatric, or psychological care or advice, and any pharmacy, weight loss
center, x-ray department, laboratory, physical therapist or physical therapy department, rehabilitation
specialist, physician, psychiatrist, osteopath, homeopath, chiropractor, psychologist, nutritionist, dietician, or
other persons or entities involved in the evaluation, diagnosis, care, and/or treatment of the plaintiff or
plaintiff’s decedent; (2) “document” means any writing or record of every type that is in your possession,
including but not limited to written documents, documents in electronic format, cassettes, videotapes,
photographs, charts, computer discs or tapes, and x-rays, drawings, graphs, phone-records, non-identical
copies, and other data compilations from which information can be obtained and translated, if necessary, by the
respondent through electronic devices into reasonably usable form.

      Information provided by plaintiff will only be used for purposes related to this litigation and may
be disclosed only as permitted by the protective order in this litigation. This Fact Sheet is completed
pursuant to the Federal Rules of Civil Procedure governing discovery (or, for state court case, the
governing rules of civil of the state in which the case is pending).

I.    CORE CASE INFORMATION

Attorney Information

      Please provide the following information for the civil action that you filed:
               1. Caption: Deborah Johnson v. Sanofi-Aventis U.S., Inc., et al.
               2. Court and Docket No.: 2:16-cv-15607-KDE- MBN
               3. MDL Docket No. (if different): 2740

JOHNSON, DEBORAH                                            1                                   Plaintiff ID 1426
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              4.   Date Lawsuit Filed: 10/14/16
              5.   Plaintiff’s Attorney: Betsy Barnes
              6.   Plaintiff’s Law Firm: Morris Bart, LLC
              7.   Attorney’s Address: 601 Poydras Street 24th floor
                                        New Orleans, LA 70130
              8.   Attorney’s Phone Number: (504) 599-3234
              9.   Attorney’s Email Address: bbarnes@morrisbart.com

Plaintiff Information

      Please provide the following information for the individual on whose behalf this action was filed:
              10. Name: JOHNSON, DEBORAH
              11. Street Address:
              12. City:
              13. State:
              14. Zip code:
              15. Date of Birth:
              16. Place of Birth: New Orleans
              17. Social Security Number:
              18. Maiden or other names you have used or by which you have been known:
                   Deborah Ann Dunn Johnson
              19. Sex: Male: o Female: x
              20. Race:

                                          Race                          Yes
                   American Indian or Alaska Native                      o
                   Asian                                                 o
                   Black or African American                             x
                   Native Hawaiian or Other Pacific Islander             o
                   White                                                 o

              21. Ethnicity:

                                        Ethnicity                       Yes
                   Hispanic or Latino                                    o
                   Not Hispanic or Latino                                x

              22. Primary Language: English


Representative Information



JOHNSON, DEBORAH                                          2                                 Plaintiff ID 1426
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      If you are completing this questionnaire in a representative capacity (e.g., on behalf of the estate of a
      deceased person), please state the following:
                   23. Name:
                   24. Address:

                   25. Capacity in which you are representing the individual:
                   26. If you were appointed as a representative by a court, identify the State, Court and Case Number:

                                 a) State:
                                 b) Court:
                                 c) Case Number:
                   27. Relationship to the Represented Person:
                   28. State the date of death of the decedent: --/--/----
                   29. State the place of death of the decedent:
                   30. Are you filling this questionnaire out on behalf of an individual who is deceased and on whom
                       an autopsy was performed? Yes o No o
If you are completing this questionnaire in a representative capacity, please respond to these questions with
respect to the person whose medical treatment involved Taxotere® or Docetaxel.

II.    PERSONAL INFORMATION

Relationship Information

      Please provide the following information for the civil action that you filed:
               1. Are you currently: Married: x Single: o Engaged: o
                        Significant other: o Divorced: o Widowed: o Same sex partner: o
                   2.   Have you ever been married? Yes x No o
                   3.   If yes, for EACH marriage, state the following:


                                                   Dates of            Date Marriage
            Spouse’s Name                                                                   Nature of Termination
                                                   Marriage                Ended
                                                                                       Still married, but separated & no
Johnson, Roussel                               07/24/1976              --/--/----
                                                                                       contact since 1976.


Education

                   4.   For each level of education you completed, please check below:
                        High School: x Vocational School: x
                        College: AA: o BA/BS: o Masters: o PhD: o M.D.: o
                        Other:


Employment
JOHNSON, DEBORAH                                                   3                                   Plaintiff ID 1426
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              5.    Are you currently employed? Yes o No x
              6.    If yes, state the following:
                           a) Current employer name:
                           b) Address:

                           c) Telephone number:
                           d) Your position there:
              7.    Are you making a claim for lost wages or lost earning capacity?
                    Yes o No x
              8.    Only if you are asserting a wage loss claim, please state the following for EACH employer for
                    the last seven (7) years:


                                                                                                 Annual
                                                                            Dates of
 Name of Employer                 Address of Employer                                             Gross       Your Position
                                                                           Employment
                                                                                                 Income
                                                                          --/--/---- to
                                                                          --/--/----
                                                                          o Present


              9.    Have you ever been out of work for more than thirty (30) days for reasons related to your health
                    in the last seven (7) years? Yes o No x
              10. If yes, please state the following:


              Name of Employer                                        Dates                             Health Reason
                                                       --/--/---- to --/--/----
                                                       o Present


       YOU MUST ATTACH TAX RETURNS, EMPLOYMENT AUTHORIZATIONS, AND IDENTIFY THE LOSS OF
       CONSORTIUM PLAINTIFF’S EMPLOYERS IF CLAIMING LOST WAGES OR LOST EARNING CAPACITY
       DAMAGES.


Worker’s Compensation and Disability Claims

              11. Within the last ten (10) years, have you ever filed for workers’ compensation, social
                  security, and/or state or federal disability benefits?

                    Yes x No o
              12. If yes, then as to EACH application, please state the following:


  Year Claim                                         Nature of Claimed
                                Court                                                     Period of Disability Award Amount
     Filed                                                Injury
2010               Disability                      Breast Cancer                      2010 to Present         $850.00


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Military Service

               13. Have you ever served in any branch of the military? Yes o No x
               14. If yes, state the branch and dates of service:


                                           Branch Name                Dates of Service
                                                                    --/--/---- to --/--/----
                                                                    o Present


               15. If yes, were you discharged for any reason relating to your health (whether physical, psychiatric,
                   or other health condition)? Yes o No o
               16. If yes, state the condition:


Other Lawsuits

               17. Within the last ten (10) years, have you filed a lawsuit, relating to any bodily injury, or made a
                   claim, OTHER THAN the present suit? Yes o No x


Computer Use

               18. Apart from communications to or from your attorney, have you communicated via email, visited
                   any chat rooms, or publicly posted a comment, message or blog entry on a public internet site
                   regarding your experience with or injuries you attribute to Taxotere®, other chemotherapies,or
                   alopecia/hair loss during the past ten (10) years? You should include all postings on public
                   social network sites including Twitter, Facebook, MySpace, LinkedIn, or “blogs” that address
                   the topics above.
                   Yes o No x
               19. If yes, please state the following:


                                         Screen Name or
           Forum Name                                         Date of Post                     Substance of Post
                                           User Handle
                                                             --/--/----


               20. Are you now or have you ever been a member of an alopecia support group?
                   Yes o No x

                          a) If yes, identify the group by name:
                          b) When did you join the group?


III.   PRODUCT IDENTIFICATION

               I HAVE RECORDS DEMONSTRATING USE OF TAXOTERE® OR OTHER
                                    DOCETAXEL: Yes x No o

JOHNSON, DEBORAH                                             5                                         Plaintiff ID 1426
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               YOU MUST UPLOAD THEM BEFORE YOU SUBMIT THIS FACT SHEET


Taxotere®

               1.   Were you treated with brand name Taxotere ®? Yes x No o Unknown o


Other Docetaxel
               2. Were you treated with another Docetaxel or generic Taxotere®? Yes o No x
               3. If yes, select all that apply:
                                              Name of Drug                               Yes
                    Docetaxel – Sanofi-Aventis U.S. LLC d/b/a Winthrop US                o
                    Docetaxel – McKesson Corporation d/b/a McKesson Packaging            o
                    Docetaxel – Actavis LLC f/k/a Actavis Inc. / Actavis Pharma, Inc.    o
                    Docetaxel – Pfizer Inc.                                              o
                    Docetaxel – Sandoz Inc.                                              o
                    Docetaxel – Accord Healthcare, Inc.                                  o
                    Docetaxel – Hospira Worldwide, LLC f/k/a Hospira Worldwide, Inc. /
                                                                                         o
                    Hospira, Inc.
                    Docefrez – Sun Pharma Global FZE                                     o
                    Docefrez – Sun Pharmaceutical Industries, Inc. f/k/a Caraco
                                                                                         o
                    Pharmaceutical Laboratories, Ltd.
                    Docetaxel – Teva Parenteral Medicines, Inc.                          o
                    Docetaxel – Dr. Reddy’s Laboratories Limited                         o
                    Docetaxel – Eagle Pharmaceuticals, Inc.                              o
                    Docetaxel – Northstar Rx LLC                                         o
                    Docetaxel – Sagent Pharmaceuticals, Inc.                             o
                    Unknown                                                              o


               4.   IF YOU SELECTED “UNKNOWN” YOU MUST CERTIFY AS FOLLOWS:

                    I certify that I have made reasonable, good faith efforts to identify the manufacturer of the
                    Docetaxel used in my treatment, including requesting records from my infusion pharmacy,
                    and the manufacturer either remains unknown at this time or I am awaiting the records:
                    x

IV.    MEDICAL INFORMATION



Vital Statistics

               1.   How old are you: 60

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                 2. Age at the time of your alleged injury: 53
                 3. Current weight: 243
                 4. Current height:
                      Feet: 5 Inches: 5
                 5. Weight at time of alleged injury: 243


Gynecologic and Obstetric History

                 6. Have you ever been pregnant? Yes x No o
                           a) Number of pregnancies: 04
                           b) Number of live births: 02
                 7. If you have children, please state the following for EACH child:


          Child’s Name                                             Address                          Date of Birth
                                   520 Magnolia Street
Johnson, Tishanne                                                                                 07/25/1975
                                   Laplace, LA 70068
                                   909 Gravier Street
Johnson, Rafe                                                                                     09/29/1981
                                   New Orleans, LA 70112


                 8. Date of first period (menses): ??/??/1969 Age: 12
                 9. Date of last period (menses):        ??/??/2010 Age: 53
                 10. Are you menopausal, perimenopausal or postmenopausal? Yes x No o
                 11. For EACH year for the last seven (7) years before your first treatment with Taxotere® or
                     Docetaxel and since then, who did you see for your annual gynecological exam? Also
                     indicate whether an annual exam was skipped ormissed.


                Doctor                                Office                             Year   Skipped or Missed
Robinson, William R               1430 Tulane Avenue, New Orleans, LA 70112      2017                    o
Robinson, William R               1430 Tulane Avenue, New Orleans, LA 70112      2016                    o
                                  West Jefferson Women's Health, 1111 Medical
                                                                                  2015                   o
                                  Center Boulevard, Suite S-250, Marrero, LA70072
                                  West Jefferson Women's Health, 1111 Medical
                                                                                  2014                   x
                                  Center Boulevard, Suite S-250, Marrero, LA70072
                                  West Jefferson Women's Health, 1111 Medical
                                                                                  2013                   o
                                  Center Boulevard, Suite S-250, Marrero, LA70072
                                  West Jefferson Women's Health, 1111 Medical
                                                                                  2012                   x
                                  Center Boulevard, Suite S-250, Marrero, LA70072
                                  West Jefferson Women's Health, 1111 Medical
                                                                                  2011                   o
                                  Center Boulevard, Suite S-250, Marrero, LA70072
                                  West Jefferson Women's Health, 1111 Medical
                                                                                  2010                   o
                                  Center Boulevard, Suite S-250, Marrero, LA70072
McKenzie, Trinity                 434 Captain Gloster Drive, Gloster, MS 39638   2009                    o




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         Doctor                                 Office                            Year   Skipped or Missed
                            Memorial Hermann,
                            7737 SWF C94                                  2008                    o
                            Houston, TX 77074
                            Memorial Hermann,
                            7737 SWF C94                                  2007                    o
                            Houston, TX 77074
                            Memorial Hermann,
                            7737 SWF C94                                  2006                    o
                            Houston, TX 77074
                            Memorial Hermann,
                            7737 SWF C94                                  2005                    o
                            Houston, TX 77074
                            Charity Hospital c/o UMCNO, 2000 Canal Street,
                                                                           2004                   o
                            New Orleans, LA 70112
                            Charity Hospital c/o UMCNO, 2000 Canal Street,
                                                                           2003                   o
                            New Orleans, LA 70112
                            Charity Hospital c/o UMCNO, 2000 Canal Street,
                                                                           2002                   o
                            New Orleans, LA 70112


           12. For EACH year after age 40, or before then if applicable, who did you see for your annual
               mammogram? Also indicate whether an annual mammogram was skipped or missed.


         Doctor                                 Office                            Year   Skipped or Missed
                            Charity Hospital c/o UMCNO, 2000 Canal Street,
                                                                           1997                   o
                            New Orleans, LA 70112
                            Charity Hospital c/o UMCNO, 2000 Canal Street,
                                                                           1998                   o
                            New Orleans, LA 70112
                            Charity Hospital c/o UMCNO, 2000 Canal Street,
                                                                           1999                   o
                            New Orleans, LA 70112
                            Charity Hospital c/o UMCNO, 2000 Canal Street,
                                                                           2000                   o
                            New Orleans, LA 70112
                            Charity Hospital c/o UMCNO, 2000 Canal Street,
                                                                           2001                   o
                            New Orleans, LA 70112
                            Charity Hospital c/o UMCNO, 2000 Canal Street,
                                                                           2002                   o
                            New Orleans, LA 70112
                            Charity Hospital c/o UMCNO, 2000 Canal Street,
                                                                           2003                   o
                            New Orleans, LA 70112
                            Charity Hospital c/o UMCNO, 2000 Canal Street,
                                                                           2004                   o
                            New Orleans, LA 70112
                            Memorial Hermann,
                            7737 SWF C94                                  2005                    x
                            Houston, TX 77074
                            Memorial Hermann,
                            7737 SWF C94                                  2006                    x
                            Houston, TX 77074
                            Memorial Hermann,
                            7737 SWF C94                                  2007                    x
                            Houston, TX 77074
                            Memorial Hermann,
                            7737 SWF C94                                  2008                    x
                            Houston, TX 77074


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               Doctor                                    Office                            Year   Skipped or Missed
                                    434 Captain Gloster Drive
McKenzie, Trinity                                                                  2009                    o
                                    Gloster, MS 39638
                                    150 South Liberty Street
Lewis, Brian E                                                                     2010                    o
                                    New Orleans, LA 70112
                                    West Jefferson Women's Health, 1111 Medical
                                                                                    2011                   o
                                    Center Boulevard, Suite S-250, Marrero, LA70072
                                    West Jefferson Women's Health, 1111 Medical
                                                                                    2012                   o
                                    Center Boulevard, Suite S-250, Marrero, LA70072
                                    West Jefferson Women's Health, 1111 Medical
                                                                                    2013                   o
                                    Center Boulevard, Suite S-250, Marrero, LA70072
                                    West Jefferson Women's Health, 1111 Medical
                                                                                    2014                   o
                                    Center Boulevard, Suite S-250, Marrero, LA70072
                                    West Jefferson Women's Health, 1111 Medical
                                                                                    2015                   o
                                    Center Boulevard, Suite S-250, Marrero, LA70072
                                    West Jefferson Women's Health, 1111 Medical
                                                                                    2016                   o
                                    Center Boulevard, Suite S-250, Marrero, LA70072
                                    West Jefferson Women's Health, 1111 Medical
                                                                                    2017                   o
                                    Center Boulevard, Suite S-250, Marrero, LA70072



Other Risk Factors

                 13. Have any family members been diagnosed with breast cancer?


                                                                         Age at
                    Family Member                       Diagnosed
                                                                        Diagnosis
      Sister                                                   x       49
      Maternal grandmother                                     x       47


                 14. Have you ever been diagnosed as having genes or gene mutations that carry an increased
                     cancer risk (e.g., BRCA1, BRCA2)? Yes x No o
                           a) If yes, which? Both BRCA1 and 2. I was negative.
                     Did you receive radiation treatments or exposure to radiation before the age of 30?
                 15.
                     Yes o No x
                             a) If yes, describe the particulars of your treatment or exposure:



Tobacco Use History


For the ten (10) year period before your use of Taxotere® or Docetaxel up to the present, check the answer and
fill in the blanks applicable to your history of tobacco use, including cigarettes, cigars, pipes, and/or chewing
tobacco/snuff.
                 16. I currently use tobacco: Yes o No x
                 17. I have never used tobacco: Yes o No x

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                    18. I used tobacco in the ten (10) years before Taxotere® or Docetaxel treatment:
                        Yes x No o
                    19. Identify types of tobacco use:


                                                                                      Duration of Use
                    Type                   Used           Average Per Day
                                                                                          (Years)
     Cigarettes                             x            1/2 pack                25
     Cigars                                 o
     Pipes                                  o
     Chewing tobacco/snuff                  o



Prescription Medications

                    20. Apart from chemotherapy, are there prescription or over-the-counter medications that you
                        took on a regular basis or more than three (3) times inthe seven (7) year period before you
                        first took Taxotere®? Yes x No o
                        For purposes of this question, “regular basis” means that you were directed by a healthcare
                        provider to take a medication for at least forty-five (45) consecutive days.
                    21. If yes, please provide the following for EACH prescription medication:


                    Medication                                           Prescriber                        Dates Taken
                                                  Causey, Karen
                                                                                                    01/1/2004 to --/--/----
Norvasc, 10 mg                                    501 Lapalco Boulevard
                                                                                                    R Present
                                                  Gretna, LA 70056
                                                  Causey, Karen
                                                                                                    01/1/2004 to --/--/----
Hydrochlorothiazide, 12.5 mg                      501 Lapalco Boulevard
                                                                                                    R Present
                                                  Gretna, LA 70056
                                                  Causey, Karen
                                                                                                    01/1/2004 to --/--/----
Lisinopril, 20 mg                                 501 Lapalco Boulevard
                                                                                                    R Present
                                                  Gretna, LA 70056


V.    CANCER DIAGNOSIS AND TREATMENT



Cancer Diagnosis & Treatment Generally

                    1. Have you ever been diagnosed with cancer? Yes x No o
                    2. Were you diagnosed with cancer more than once? Yes o No x
                    3. Did you undergo any of the following for cancer?




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                                        Treatment               Treated
                                   Surgery                           x
                                   Radiation                         x
                                   Chemotherapy                      x


             4. For surgery, specify:


                                           Type of Surgery                         Treated
                             Double mastectomy                                       o
                             Left-side mastectomy                                    x
                             Right-side mastectomy                                   o
                             Lumpectomy                                              o
                             Other:                                                  o


             5. Please state the following for EACH cancer diagnosis:


Type of Cancer                          Breast Cancer

Date of Diagnosis                       05/11/2010
                                        05/11/2010 to --/--/---- R       Present
                                        Oncology Treatment
Primary Oncologist                      Lewis, Brian
                                        150 South Liberty Street
                                        New Orleans, LA 70112
                                        05/11/2010 to 07/22/2010 o Present
                                        Oncology Surgery
Primary Oncologist                      Wey, Jane
                                        1542 Tulane Avenue, Room 749A
                                        New Orleans, LA 70112
                                        07/22/2010 to --/--/---- R Present
                                        Oncology Radiation Treatment
Primary Oncologist                      Kraus, Stephen Terry
                                        1415 Tulane Avenue, HC62
                                        New Orleans, LA 70112
                                        05/11/2010 to --/--/---- R Present
                                        Cancer Treatment
Treatment Facility                      University Medical Center - New Orleans (UMCNO)
                                        2000 Canal Street
                                        New Orleans, LA 70112
                                        05/11/2010 to --/--/---- R       Present
                                        Cancer Treatment
Treatment Facility                      Tulane Cancer Center
                                        150 South Liberty Street
                                        New Orleans, LA 70112
Treatment Facility                      --/--/---- to --/--/---- o   Present
Treatment Facility                      --/--/---- to --/--/---- o   Present


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Particulars of Chemotherapy

             6. When were you first diagnosed with the condition for which you were prescribed Taxotere® or
                Docetaxel? 05/11/2010
             7. What was the diagnosis for which you were prescribed Taxotere® or Docetaxel?


                                       Diagnosis                  Diagnosed
                  Breast cancer                                       x
                  Non-small cell lung cancer                          o
                  Prostate cancer                                     o
                  Gastric adenocarcinoma                              o
                  Head and neck cancer                                o
                  Other:                                              o


             8.   For breast cancer, specify:
                        a) Tumor size:


                                  Tumor Size          Yes
                           TX                          o
                           T0                          o
                           Tis                         o
                           T1                          o
                           T2                         x
                           T3                          o
                           T4 (T4a, T4b, T4c, T4d)     o
                           Unknown                     o


                        b) Metastasis: None
                        c) Node involvement:


                                       Node           Yes
                           Node + NX                   o
                           Node + N0                   o
                           Node + N1                  x
                           Node + N2                   o
                           Node + N3                   o
                           Node – (negative)           o
                           Unknown                     o


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                     d) HER2 + (positive): o HER2- (negative): x Unknown: o
                     e) Estrogen receptor: Positive (ER+): x Negative (ER-): o Unknown: o
                     f) Progesterone receptor: Positive (PR+): o Negative (PR-): x Unknown: o
           9.   Was Taxotere® or Docetaxel the only chemotherapy treatment that you ever received?
                Yes o No x Unknown o

           10. Have you ever been treated with other chemotherapy drugs, either alone or in combination
               with or sequentially with Taxotere® or Docetaxel? Yes x No o Unknown o
           11. If yes, check which of the following chemotherapy drugs you took:


                                              Drug                        Yes
                       5-Fluorouracil (Eludex)                             o
                       Actinomycin                                         o
                       Altretamine (Hexalen)                               o
                       Amsacrine                                           o
                       Bleomycin                                           o
                       Busulfan (Busulfex, Myleran)                        o
                       Cabazitaxel: Mitoxantrone                           o
                       Carboplatin (Paraplatin)                            o
                       Carmustine (BiCNU, Gliadel)                         o
                       Cetuximab (Erbitux)                                 o
                       Chlorambucil (Leukeran)                             o
                       Cisplatin (Platinol)                                o
                       Cyclophosphamide (Neosar)                          x
                       Cytarabine (Depocyt)                                o
                       Dacarbazine                                         o
                       Daunorubicin (Cerubidine, DaunoXome)                o
                       Doxorubicin (Adriamycin, Doxil)                    x
                       Epirubicin (Ellence)                                o
                       Erlotinib (Tarceva)                                 o
                       Etoposide (Etopophos, Toposar)                      o
                       Everolimus (Afinitor, Zortress)                     o
                       Faslodex (Fulvestrant)                              o
                       Gemcitabine (Gemzar)                                o
                       Hexamethylmelamine (Hexalen)                        o
                       Hydroxyurea (Hydrea, Droxia)                        o
                       Idarubicin (Idamycin)                               o
                       Ifosfamide (Ifex)                                   o
                       L-asparginase (crisantaspase)                       o


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                                             Drug                             Yes
                      Lomustine (Ceenu)                                        o
                      Melphalan (Alkeran)                                      o
                      Mercaptopurine (Purinethol, Purixan)                     o
                      Methotrexate (Trexall, Rasuvo)                           o
                      Mitomycin                                                o
                      Mitoxantrone                                             o
                      Nab-paclitaxel (Abraxane): Mitoxantrone                  o
                      Nitrogen mustard                                         o
                      Paclitaxel (Taxol)                                       o
                      Panitumumab (Vectibix)                                   o
                      Procarbazine (Matulane)                                  o
                      Sorafenib (Nexavar)                                      o
                      Teniposide (Vumon)                                       o
                      Thioguanine (Tabloid)                                    o
                      Thiotepa (Tepadina)                                      o
                      Topotecan (Hycamtin)                                     o
                      Vemurafenib (Zelboraf)                                   o
                      Vinblastine                                              o
                      Vincristine (Mariqibo, Vincasar)                         o
                      Vindesine                                                o
                      Vinorelbine (Alocrest, Navelbine)                        o
                      Unknown                                                  o


           12. Please provide the following information regarding Taxotere® or Docetaxel:
                     a) Number of cycles: 06
                     b) Frequency: Every week o Every three weeks x
                        Other:
                     c) First treatment date: 08/12/2010
                     d) Last treatment date: 12/30/2010
                     e) Dosage: 157mg
                           (1) Combined with another chemotherapy drug: o
                           (2) Sequential with another chemotherapy drug: x
                           (3) If so, describe the combination or sequence: Treated with Taxotere in different
                           sequences with Adriamycin/Doxorubicin and Cytoxan/Cyclophosphamide.
           13. Prescribing Physician(s):




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                    Prescribing Physician                                                      Address
                                                                    150 South Liberty Street
Lewis, Brian E.
                                                                    New Orleans, LA 70122


                  14. Treatment Facility:


                      Treatment Facility                                                       Address
                                                                    2000 Canal Street
University Medical Center New Orleans (UMCNO) Cancer Center
                                                                    New Orleans, LA 70112
                                                                    2021 Perdido Street
Medical Center of Louisiana at New Orleans (Now UMCNO)
                                                                    New Orleans, LA 70112


                  15. Identify EACH state where you resided when you began and while taking Taxotere® or
                      Docetaxel:


                          State                            From Date                               To Date
         LA                                       08/12/2010                            12/30/2010 o Present


                  16. Was your Taxotere® or Docetaxel treatment part of a clinical trial? Yes o No x
                      Unknown o
                  17. If yes, please provide the name and location of the trial site:
                            a) Name of trial site:
                            b) Location of trial site:


VI.   CLAIM INFORMATION



Current Status

                  1. Are you currently taking Taxotere® or Docetaxel? Yes o No x
                  2. Are you currently cancer-free? Yes x No o
                  3. If no, check those that apply to your CURRENT status:


                                            Current Status                                 Yes
                      In remission                                                             x
                      Currently receiving chemotherapy                                         o
                      Currently receiving radiation therapy                                    o
                      Currently hospitalized for cancer or cancer-related
                                                                                               o
                      complications
                      Currently in home health or hospice care for cancer or
                                                                                               o
                      cancer-related complications

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                                          Current Status                        Yes
                    Cancer returned after taking Taxotere® or Docetaxel          o


               4. When was the last (most recent) date you consulted with an oncologist: 06/9/2017


Alleged Injury



                    State the injury you allege in this lawsuit and the dates between which you experienced the
               5.
                    alleged injury. Check all that apply:


                       Alleged Injury                            Yes    No          From               To

Persistent total alopecia – No hair growth on your head or
body after six (6) months of discontinuing Taxotere® or          o        x   --/--/----     --/--/---- o Present
Docetaxel treatment
Persistent alopecia of your head – No hair growth on your
head after six (6) months of discontinuing Taxotere® or
                                                                 o        x   --/--/----     --/--/---- o Present
Docetaxel treatment. Hair is present elsewhere on your
body
Permanent/Persistent Hair Loss on Scalp                          x        o   08/??/2010     --/--/---- R Present

Diffuse thinning of hair: partial scalp
            o Top
            o Sides
                                                                 o        x   --/--/----     --/--/---- o Present
            o Back
            o Temples
            o Other:

Diffuse thinning of hair: total scalp
            x Top
            x Sides
                                                                 x        o   08/??/2010     --/--/---- R Present
            x Back
            x Temples
            o Other:
Significant thinning of the hair on your head after six (6)
months of discontinuing Taxotere® or Docetaxel treatment                                     --/--/---- R Present
                                                                 x        o   08/??/2010
– There are visible bald spots on your head no matter how
you style your hair
Moderate thinning of the hair on your head after six (6)
months of discontinuing Taxotere® or Docetaxel treatment
                                                                 o        x   --/--/----     --/--/---- o Present
– There is noticeable hair loss but if you brush or style your
hair, the hair loss is less evident
Small bald area in the hair on your head                         o        x   --/--/----     --/--/---- o Present

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                       Alleged Injury                                Yes          No            From             To
Large bald area in the hair on your head                              x            o      08/??/2010    --/--/---- R Present
Multiple bald spots in the hair on your head                          x            o      08/??/2010    --/--/---- R Present
Change in the texture, thickness or color of your hair after                                            --/--/---- R Present
                                                                      x            o      08/??/2010
Taxotere® or Docetaxel treatment
Other:                                                                o           x       --/--/----    --/--/---- o Present
Permanent/Persistent Loss of Eyebrows                                 o           x       --/--/----    --/--/---- o Present
Permanent/Persistent Loss of Eyelashes                                x            o      08/??/2010    --/--/---- R Present
Permanent/Persistent Loss of Body Hair                                o           x       --/--/----    --/--/---- o Present
Permanent/Persistent Loss of Genital Hair                             x            o      08/??/2010    --/--/---- R Present
Permanent/Persistent Loss of Nasal Hair                               o           x       --/--/----    --/--/---- o Present
Permanent/Persistent Loss of Ear Hair                                 o           x       --/--/----    --/--/---- o Present
Permanent/Persistent Loss of Hair in Other Areas
                                                                      o           x       --/--/----    --/--/---- o Present
Describe:

               6.   Have you ever received treatment for the injury you allege in this lawsuit?
                    Yes o No x


              Name of Treating Physician                        Dates of Treatment                     Treatments
                                                               --/--/---- to --/--/----
                                                               o Present


               7.   Were you diagnosed by a healthcare provider for the injury you allege in this lawsuit?
                    Yes o No x


             Name of Diagnosing Physician                       Dates of Treatment                     Treatments
                                                               --/--/---- to --/--/----
                                                               o Present


               8.   Have you discussed with any healthcare provider whether Taxotere® or Docetaxel caused or
                    contributed to your alleged injury?
                    Yes o No x


                    Name of Physician                           Dates of Treatment                     Treatments
                                                               --/--/---- to --/--/----
                                                               o Present


Statement Information




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                 9.   Were you ever given any written instructions, including any prescriptions, packaging,
                      package inserts, literature, medication guides, or dosing instructions, regarding
                      chemotherapy, Taxotere® or Docetaxel? Yes x No o

                 10. If yes, please describe the documents, if you no longer have them. If you have the
                     documents, please produce them:


                                                                   I Have the             I Do Not Have the
                  Description of Document
                                                                   Documents                 Documents
Taxotere Information Sheet                                              o                          x


                 11. Were you given any oral instructions from a healthcare provider regarding chemotherapy or
                     your use of Taxotere® or Docetaxel? Yes o No x
                 12. If yes, please identify each healthcare provider who provided the oral instructions:


                                                Name of Healthcare Provider



                 13. Have you ever seen any advertisements (e.g., in magazines or television commercials) for
                     Taxotere® or Docetaxel? Yes o No x
                 14. If yes, identify the advertisement or commercial, and approximately when you saw the
                     advertisement or commercial:


                                                                               Date of Advertisement or
                      Type of Advertisement or Commercial
                                                                                     Commercial
                                                                            --/--/----


                 15. Other than through your attorneys, have you had any communication, oral or written, with
                     any of the Defendants or their representatives? Yes o No x
                 16. If yes, please identify:


    Date of                                                                                    Substance of
                        Method of Communication              Name of Representative
 Communication                                                                                Communication
--/--/----


                 17. Have you filed a MedWatch Adverse Event Report to the FDA? Yes o No x
YOU MUST UPLOAD NOW ANY MEDICAL RECORDS IN YOUR POSSESSION
DEMONSTRATING ALLEGED INJURY OR PHOTOGRAPHS SHOWING YOUR HAIR BEFORE
AND AFTER TREATMENT WITH TAXOTERE® ALONG WITH THE DATE(S) THE
PHOTOGRAPHS WERE TAKEN.



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Other Claimed Damages

            18. Mental or Emotional Damages: Do you claim that your use of Taxotere® or Docetaxel
                caused or aggravated any psychiatric or psychological condition? Yes x No o
            19. If yes, did you seek treatment for the psychiatric or psychological condition?
                Yes o No x


                   Provider                                      Date                   Condition
                                                    --/--/----


            20. Medical Expenses: Do you claim that you incurred medical expenses for the alleged injury
                that you claim was caused by Taxotere® or Docetaxel? Yes o No x
            21. If yes, list all of your medical expenses, including amounts billed or paid by insurers and
                other third-party payors, which are related to any alleged injury you claim was caused by
                Taxotere® or Docetaxel:


                   Provider                                      Date                   Expense
                                                    --/--/----


            22. Lost Wages: Do you claim that you lost wages or suffered impairment of earning capacity
                because of the alleged injury that you claim was caused by Taxotere® or Docetaxel?
                Yes o No x
            23. If yes, state the annual gross income you earned for each of the three (3) years before the
                injury you claim was caused by Taxotere® or Docetaxel.



                                     Year          Annual Gross Income



            24. State the annual gross income for every year following the injury or condition you claim
                was caused by Taxotere® or Docetaxel.



                                     Year          Annual Gross Income



            25. Out-of-Pocket Expenses: Are you making a claim for lost out-of-pocket expenses?
                Yes x No o
            26. If yes, please identify and itemize all out-of-pocket expenses you have incurred:



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                                           Expense                                    Expense Amount
         Wigs                                                                      $200.00
         Scarves                                                                   $100.00


VII. HAIR LOSS INFORMATION



Background

                1. Did you ever see a healthcare provider for hair loss BEFORE taking Taxotere® or Docetaxel?
                   Yes o No x
                2. Did your hair loss begin during chemotherapy treatment? Yes x No o
                3. If yes, did you FIRST experience hair loss:
                              a) After treatment with another chemotherapy agent: o
                              b) After treatment with Taxotere® or Docetaxel: x
                4. At any time before or during the hair loss were you:


                                      Condition                           Yes      Description
           Pregnant                                                        o
           Seriously ill                                                   o
           Hospitalized                                                    o
           Under severe stress                                             o
           Undergoing treatment for any other medical condition            o


                5.   When did you FIRST discuss with or see a healthcare provider about your hair loss?
                     --/--/----
                6.   Have you started any special diets at any time before or during the hair loss?
                     Yes x No o Describe: Drank protein drinks because of loss of appetite.


Hair Loss History


                      Question                          No         Yes         Name of Healthcare Provider
Have you had a biopsy of your scalp to evaluate
                                                         x          o
your hair loss problem?
Have you had blood tests done to evaluate your
                                                         x          o
hair loss problem?
Have your hormones ever been checked to
                                                         x          o
evaluate your hair loss problem?
Have you ever been told by a doctor that you
                                                         x          o
have a thyroid condition?


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                         Question                         No          Yes            Name of Healthcare Provider
Have you ever been treated with thyroid
                                                          x            o
hormone?
Have you ever been told by a doctor that you
                                                          x            o
have a low iron level?

                  7.    Have you ever been on endocrine or hormonal therapy, either before or after chemotherapy
                        with Taxotere® or Docetaxel? Yes x No o
                  8.    If yes, please identify:


                       Treating Physician                  Dates of Treatment                     Treatment
                                                          05/11/2010 to --/--/----
Lewis, Brian E.                                                                       Arimidex/Anastrozole
                                                          R Present


                  9.    Do you have any autoimmune diseases? Yes o No x
                  10. If yes, check the following which describes you:


                                  Autoimmune Disease       Yes
                              Lupus                         o
                              Rheumatoid arthritis          o
                              Celiac disease                o
                              Type 1 diabetes               o
                              Sjogrens disease              o
                              Vitiligo                      o
                              Hashimoto’s                   o
                              Other:                        o


                  11. Were you taking any medications when your hair loss began? Yes x No o


                                                        Medication
                         Lisinopril, 20 mg
                         Hydrochlorothiazide, 12.5 mg
                         Norvasc, 10 mg
                         Adriamycin
                         Cytoxan
                         Zofran
                         Decadron



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                    K-Dur/KCL-20
                    Neulasta
                    Alteplase, 2 mg



Hair Care


               12. How often do you wash/shampoo your hair? Every 2 days
               13. Check any of the following that apply to you currently or that have in the past:


                   Hair Treatment                              Yes          Period of Time                 Frequency
Hair chemically processed or straightened (relaxers,
                                                                        --/--/---- to --/--/----
keratin, Brazilian blowout, Japanese straightening,             o
                                                                        o Present
other)
Hair heat processed or straightened (blow drying/                       --/--/---- to --/--/----
                                                                o
flat ironing, curling)                                                  o Present
                                                                        --/--/---- to --/--/----
Hair dyed                                                       o
                                                                        o Present
                                                                        --/--/---- to --/--/----
Hair highlighted                                                o
                                                                        o Present
                                                                        ??/??/2004 to ??/??/2010
Braids                                                          x                                   Once a month
                                                                        o Present
                                                                        --/--/---- to --/--/----
Weaves                                                          o
                                                                        o Present
                                                                        --/--/---- to --/--/----
Tight hairstyles (ponytails)                                    o
                                                                        o Present
                                                                        --/--/---- to --/--/----
Extensions                                                      o
                                                                        o Present
                                                                        --/--/---- to --/--/----
Other:                                                          o
                                                                        o Present


               14. Have you ever used the following?


                                      Hair Treatment                                Yes
                    WEN Cleansing Conditioners                                       o
                    Unilever Suave Professionals Keratin Infusion                    o
                    L’Oréal Chemical Relaxer                                         o


               15. Has your hair care regimen been different in the past? Yes x No o
                          a) If yes, describe: I used to have a lot of hair to care for. Now, I don't.


Hair Loss Treatment

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                  16. Did you use any other methods to prevent hair loss during chemotherapy?


                                           Hair Treatment                                  Yes
                           Folic Acid supplementation                                       o
                           Minoxidil                                                        o
                           Other:                                                           o


                  17. Did you wear a cool cap during chemotherapy treatment? Yes o No x
                  18. If yes, which cooling cap did you wear:
                  19. Have you used any over-the-counter medications, supplements, or cosmeticaides for your
                      hair loss? Yes o No x
                  20. If yes, please state the following:


                Treatment                      When was it tried?              How long did you try it?       Did it help?
                                              --/--/----


                  21. Has anything helped your hair loss? Yes o No x
                  22. If yes, please specify:


            Type of Product                         Dates of Use                     Place of Purchase       Results of Use
                                              --/--/---- to --/--/----
                                              o Present


                  23. As of the date you verify your PFS, how long have you had alopecia or incomplete hair re-
                      growth? August, 2010 to Present
                  24. Has any hair regrowth occurred? Yes x No o
                  25. Have you ever worn a wig to conceal your hair loss? Yes x No o
                  26. Specify:


          Dates Used                    Period of Use                          Place Purchased                Cost of Item
08/??/2010 to --/--/----
                                    August, 2010 to Present       I do not recall.                        $200.00
R Present


VIII. RECORD HOLDER IDENTIFICATION



Healthcare Providers:

                    1. Identify each physician, doctor, or other healthcare provider who has provided treatment to

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                          you for any reason in the past eight (8) years and the reason for consulting the healthcare
                          provider or mental healthcare provider.
YOU MUST INCLUDE YOUR ONCOLOGIST, RADIOLOGIST, DERMATOLOGIST,
DERMATOLOGIST-PATHOLOGIST, HAIR LOSS SPECIALIST, GYNECOLOGIST,
OBSTETRICIAN, AND PRIMARY CARE PHYSICIAN, ALONG WITH ANY OTHER
HEALTHCARE PROVIDERS IDENTIFIED ABOVE


                                     Area or                                                                  Reason for
              Name                                          Address                       Dates
                                     Specialty                                                                Consultation
                                                                                                             Breast Cancer
                                   Oncology/       150 South Liberty Street    05/11/2010 to --/--/----
Lewis, Brian E.                                                                                              Treatment/Chemoth
                                   Hematology      New Orleans, LA 70112       R Present
                                                                                                             erapy
                                                                                                             Breast Cancer
                                   Surgical        1542 Tulane Avenue          05/11/2010 to 07/22/2010
Wey, Jane S.                                                                                                 Surgery/Mastectom
                                   Oncology        New Orleans, LA 70112       o Present
                                                                                                             y
                                   Oncology/Hema 1542 Tulane Avenue            05/11/2010 to --/--/----      Breast Cancer
Fouche, Joseph
                                   tology        New Orleans, LA 70112         R Present                     Treatment
                                                                                                             Breast Cancer
                                   Oncology/Hema 150 South Liberty Street      05/11/2010 to --/--/----
Barnhill, Marianne                                                                                           Treatment/Chemoth
                                   tology        New Orleans, LA 70112         R Present
                                                                                                             erapy
                                                   501 Lapalco Boulevard       01/1/2004 to --/--/----
Causey, Karen                      Primary Care                                                              Primary Care
                                                   Gretna, LA 70056            R Present
                                   Oncology/Radio 1415 Tulane Avenue           07/22/2010 to --/--/----      Oncology Radiation
Kraus, Stephen T.
                                   logy           New Orleans, LA 70112        R Present                     Treatment
                                                   1430 Tulane Avenue          ??/??/2010 to --/--/----
Urrego, Heather H.                 Ob-Gyn                                                                    Ob-Gyn Treatment
                                                   New Orleans, LA 70112       R Present
                                                   2020 Gravier Street         05/11/2010 to 05/12/2010      Biopsy/Surgical
Serrano, Luis                      Radiology
                                                   New Orleans, LA 70112       o Present                     Pathology
                                                   2021 Perdido Street         05/11/2010 to 05/??/2010
Reddy, Harini                      Ob-Gyn                                                                    Oncology Biopsy
                                                   New Orleans, LA 70112       o Present
                                                   150 South Liberty Street    08/6/2010 to 08/??/2010
Degefu, Simie                      Ob-Gyn                                                                    Oncology Biopsy
                                                   New Orleans, LA 70112       o Present
                                                   150 South Liberty Street    05/11/2010 to --/--/----
Pridjian, Gabriella                Oncology                                                                  Oncology Care
                                                   New Orleans, LA 70112       R Present
                                                   150 South Liberty Street    05/11/2010 to --/--/----      Oncology
Wright, Ato                        Oncology
                                                   New Orleans, LA 70112       R Present                     Treatment
                                                   1430 Tulane Avenue          01/1/2013 to --/--/----
Robinson, William R                Ob-Gyn                                                                    Ob-Gyn Treatment
                                                   New Orleans, LA 70112       R Present
                                                                                                             Primary
                                                   434 Captain Gloster Drive   01/1/2009 to 05/11/2010
McKenzie, Trinity                  Internist                                                                 Care/Oncology
                                                   Gloster, MS 39638           o Present
                                                                                                             Treatment


Hospitals, Clinics, and Other Facilities:

                      2. Identify each hospital, clinic, surgery center, physical therapy or rehabilitation center, or
                         other healthcare facility where you have received inpatient or outpatient treatment
                         (including emergency room treatment) in the past eight(8)years:

YOU MUST INCLUDE THE LOCATIONS FOR SURGERIES, RADIOLOGY, IMAGING, BIOPSIES,
CHEMOTHERAPY, CHILD BIRTHS, GYNECOLOGIC PROCEDURES OR TREATMENT, ALONG

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WITH ANY OTHER HEALTHCARE FACILITIES


                                                                                                               Reason for
                Name                                Address                             Dates
                                                                                                               Treatment
                                       150 South Liberty Street                05/11/2010 to --/--/----
Tulane Cancer Center                                                                                      Breast Cancer Care
                                       New Orleans, LA 70112                   R Present
                                                                               01/1/2009 to
                                       178 Highway 24 East                                                Primary Care and Breast
Field Memorial Community Hospital                                              05/11/2010
                                       Centreville, MS 39631                                              Cancer Care
                                                                               o Present
                                       501 Lapalco Boulevard                   01/1/2004 to --/--/----
JenCare Senior Medical Center                                                                             Primary Care
                                       Gretna, LA 70056                        R Present
                                       120 Ochsner Boulevard                   ??/??/2017 to --/--/----   Emergency Room Visit for
Ochsner Medical Center - West Bank
                                       Gretna, LA 70056                        R Present                  Cut to the Hand.
                                       2000 Canal Street                       05/11/2010 to --/--/----   Primary Care and Breast
UMCNO
                                       New Orleans, LA 70112                   R Present                  Cancer Care
                                                                               08/29/2005 to
                                       7737 SWF C94                                                       Primary
Memorial Hermann Medical Center                                                05/11/2010
                                       Houston, TX 77074                                                  Care/Mammograms
                                                                               o Present


Laboratories:

                 3. Identify each laboratory at which you had tests run in the past ten (10) years:


         Name                        Address                           Dates                  Test          Reason for Tests
                         150 South Liberty Street        05/11/2010 to --/--/----
Tulane Cancer Center                                                                  Cancer Tests        Breast Cancer
                         New Orleans, LA 70112           R Present
                         2000 Canal Street               01/1/2007 to --/--/----      General Tests
UMCNO                                                                                                  Breast Cancer
                         New Orleans, LA 70112           R Present                    and Cancer Tests
JenCare Senior Medical   501 Lapalco Boulevard           01/1/2004 to --/--/----
                                                                                      General Tests       Primary Care
Center                   Gretna, LA 70056                R Present
                                                                                                  Primary
Field Memorial           178 Highway 24 East             01/1/2009 to 05/11/2010 General Tests
                                                                                                  Care/Mammograms/Breas
Community Hospital       Centreville, MS 39631           o Present               and Cancer Tests
                                                                                                  t Cancer
Memorial Hermann         7737 SWF C94                    08/29/2005 to 05/11/2010                         Primary
                                                                                  General Tests
Medical Center           Houston, TX 77074               o Present                                        Care/Mammograms


Pharmacies:

                 4. To the best of your recollection, Identify each pharmacy, drugstore, and/or other supplier
                    (including mail order) where you have had prescriptions filled or from which you have ever
                    received any prescription medication within three (3) years prior to and three (3) years after
                    your first treatment with Taxotere:




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              Name                           Address                             Dates                   Medications
                                                                                                   All Medications,
                                4110 General De Gaulle Drive        01/1/2004 to --/--/----        including: Lisinopril,
Walgreens
                                New Orleans, LA 70131               R Present                      HCTZ, Norvasc,
                                                                                                   Arimidex.


Retailers:

                 5. Identify each pharmacy, drugstore, and/or other retailer (including mail order) where you
                    have purchased over-the-counter medications, or hair products in the past ten (10) years:


              Name                           Address                             Dates                    Purchases
                                4001 Behrman Place                  01/1/2007 to --/--/----
Walmart                                                                                            Hair Products
                                New Orleans, LA 70114               R Present


Insurance Carriers:

                 6. Identify each health insurance carrier which provided you with medical coverage and/or
                    pharmacy benefits for the last ten (10) years:


                                                        Name of Insured &            Policy
          Carrier                  Address                                                           Dates of Coverage
                                                              SSN                    Number
                          P.O. Box 14601                Johnson, Deborah          80840             05/11/2010 to --/--/----
Humana
                          Lexington, KY 40512           XXX-XX-XXXX               9140461101        R Present


IX.      DOCUMENT REQUESTS AND AUTHORIZATIONS


         Please state which of the following documents you have in your possession. If you do not have the
         following documents but know they exist in the possession of others, state who has possession of the
         documents: Produce all documents in your possession (including writings on paper or in electronic
         form) and signed authorizations and attach a copy of them to this PFS.

Requests


                                                                                                  If No, who has the
                      Type of Document(s)                                  Yes        No
                                                                                                     document(s)?
Documents you reviewed to prepare your answers to this
Plaintiff Fact Sheet.
                                                                                               calendar, before photo &
Your attorney may withhold some documents on claims of                     x             o
                                                                                               social security form. 1.4.18
attorney-client privilege or work product protection and, if so,
provide a privilege log


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                                                                                 If No, who has the
                    Type of Document(s)                            Yes   No
                                                                                    document(s)?
Medical records or other documents related to the use of
Taxotere® or Docetaxel at any time for the past twelve             x     o
(12)years.
Medical records or other documents related to your treatment
for any disease, condition or symptom referenced above for         o     x    Medical Providers
any time in the past twelve (12) years.
Laboratory reports and results of blood tests performed on you
                                                                   o     x    Medical Providers
related to your hair loss.
Pathology reports and results of biopsies performed on you
related to your hair loss.
Plaintiffs or their counsel must maintain the slides and/or
                                                                   o     x    Medical Providers
specimens requested in this subpart, or send a preservation
notice, copying Defendants, to the healthcare facility where
these items are maintained.
Documents reflecting your use of any prescription drug or
                                                                   o     x    Pharmacy Providers
medication at any time within the past eight (8) years.
Documents identifying all chemotherapy agents that you have
                                                                   x     o
taken.
Documents for any workers' compensation, social security or
other disability proceeding at any time within the last five (5)   o     x    Disability Lawyer
years.
Instructions, product warnings, package inserts, handouts or
other materials that you were provided or obtained in              o     x    N/A
connection with your use of Taxotere®.
Advertisements or promotions for Taxotere®.                        o     x    N/A
Articles discussing Taxotere®.                                     o     x    N/A
Any packaging, container, box, or label for Taxotere® or
Docetaxel that you were provided or obtained in connection
with your use of Taxotere®.                                        o     x    N/A
Plaintiffs or their counsel must maintain the originals of these
items.
Documents which mention Taxotere® or Docetaxel or any
alleged health risks related to Taxotere®.
Your attorney may withhold some legal documents, documents
provided by your attorney, or documents obtained or created        o     x    N/A
for the purpose of seeking legal advice or assistance on claims
of attorney-client privilege or work product protection and, if
so, provide a privilege log.
Documents obtained directly or indirectly from any of the
                                                                   o     x    N/A
Defendants.
Communications or correspondence between you and any
                                                                   o     x    N/A
representative of the Defendants.
Photographs, drawing, slides, videos, recordings, DVDs, or
any other media that show your alleged injury or its effect in     x     o
your life.
JOHNSON, DEBORAH                                         27                          Plaintiff ID 1426
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                                                                                        If No, who has the
                     Type of Document(s)                            Yes       No
                                                                                           document(s)?
Journals or diaries related to the use of Taxotere® or
Docetaxel or your treatment for any disease, condition or
                                                                    o         x      N/A
symptom referenced above at any time for the past twelve (12)
years.
Social media or internet posts to or through any site
(including, but not limited to, Facebook, MySpace, LinkedIn,
Google Plus, Windows Live, YouTube, Twitter, Instagram,
                                                                    o         x      N/A
Pinterest, blogs, and Internet chat rooms/message boards)
relating to Taxotere® or Docetaxel or any of your claims in
this lawsuit.
If you claim you have suffered a loss of earnings or earning
capacity, your federal tax returns for each of the five (5) years
preceding the injury you allege to be caused by Taxotere® or
                                                                    o         x      N/A
Docetaxel, and every year thereafter or W-2s for each of the
five (5) years preceding the injury you allege to be caused by
Taxotere® or Docetaxel, and every year thereafter.
If you claim any medical expenses, bills from any physician,
                                                                    o         x      N/A
hospital, pharmacy or other healthcare providers.
Records of any other expenses allegedly incurred as a result of
                                                                    o         x      Receipts Destroyed.
your alleged injury.
If you are suing in a representative capacity, letters
                                                                    o         x      N/A
testamentary or letters of administration.
If you are suing in a representative capacity on behalf of a
deceased person, decedent’s death certificate and/or autopsy        o         x      N/A
report.
Photographs of you that are representative of your hair
                                                                    x          o
composition before treatment with Taxotere® or Docetaxel.
Photographs of you that are representative of your hair
                                                                    o         x      N/A
composition during treatment with Taxotere® or Docetaxel.
Photographs of you that are representative of your hair
composition six months after conclusion of treatment with           x          o
Taxotere® or Docetaxel.
Photographs of you that are representative of your hair
                                                                    x          o
composition in present day.
Signed authorizations for medical records related to any
cancer treatment identified herein and all pharmacy records
                                                                    x          o
from three (3) years before and three (3) years after your first
treatment with Taxotere in the forms attached hereto.

X. DECLARATION

Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that all of the information provided in
connection with this Plaintiff Profile Form is true and correct to the best of my knowledge information and
belief at the present time.


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Signature                                Date




JOHNSON, DEBORAH                            29                         Plaintiff ID 1426
